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               IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

V.                                   NO. 4:05CR00305-009 SWW

CYNTHIA C. CALICOTT




                                     ORDER
     This matter is before the Court on defendant’s pro se motion for

early termination of supervised release.       The U.S. Probation Office has

advised the Court that defendant, Cynthia C. Calicott, has met all the

criteria for early termination and that early termination is recommended.

The government has no objection to early termination of defendant’s

supervised release. The Court finds that defendant’s motion [doc #1254]

should be granted.

     IT   IS   THEREFORE   ORDERED   that    defendant’s   remaining   term   of

supervised release previously imposed be, and it is hereby, terminated.

     Dated this 5th day of November 2012.



                                            /s/Susan Webber Wright
                                            United States District Judge
